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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA

UNITED STATES OF AMERICA,               )                  3:16-cr-00029-MMD-WGC
                                        )
                  Plaintiff,            )                  MINUTES OF THE COURT
                                        )
        vs.                             )                  December 19, 2016
                                        )
ROBERT GENE RAND,                       )
                                        )
                  Defendant.            )
________________________________________)


PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:          KATIE LYNN OGDEN REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        Before the court is Defendant Robert Gene Rand’s Motion for Subpoena Duces Tecum
(ECF No. 280) wherein Defendant requests the court issue a subpoena duces tecum to Jones West
Ford to produce the employment records of Steven Richard Harper. The Government advises in its
response that it does not take a position as to Defendant’s request (ECF No. 366).

        Defendant Rand’s Motion for Subpoena Duces Tecum (ECF No. 280) is GRANTED. Upon
service of the subpoena, Defendant shall also give notice to Steven Richard Harper so, if necessary,
he can move to quash or modify the subpoena or otherwise object pursuant to Rule 17(c)(3) of the
Federal Rules of Criminal Procedure. Copies of any documents secured by Defendant via the
subpoena shall be promptly provided to the Government.

       IT IS SO ORDERED.

                                                     LANCE S. WILSON, CLERK

                                                     By:        /s/
                                                             Deputy Clerk
